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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 SECURITIES AND EXCHANGE                         §
 COMMISSION,                                     §
     Plaintiff,                                  §
                                                 §
 v.                                              §
                                                 §       Case No.: 4:18-cv-00129
 AMERATEX ENERGY, INC., LEWIS                    §
 OIL CORPORATION, LEWIS OIL                      §
 COMPANY, THOMAS A. LEWIS,                       §
 WILLIAM R. FORT, DAMON L.                       §
 FOX, and BRIAN W. BULL,                         §
     Defendants                                  §


              FINAL JUDGMENT AS TO DEFENDANT WILLIAM R. FORT

        The Securities and Exchange Commission having filed a Complaint and Defendant

 William R. Fort (“Defendant”) having entered a general appearance; consented to the Court’s

 jurisdiction over Defendant and the subject matter of this action; consented to entry of this

 Final Judgment without admitting or denying the allegations of the Complaint (except as to

 jurisdiction and except as otherwise provided herein in paragraph VIII); waived findings of fact

 and conclusions of law; and waived any right to appeal from this Final Judgment:

                                                 I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

 Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

 interstate commerce, or of the mails, or of any facility of any national securities exchange, in

 connection with the purchase or sale of any security:
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         (a)     to employ any device, scheme, or artifice to defraud;

        (b)      to make any untrue statement of a material fact or to omit to state a material fact

                 necessary in order to make the statements made, in the light of the circumstances

                 under which they were made, not misleading; or

         (c)     to engage in any act, practice, or course of business which operates or would

                 operate as a fraud or deceit upon any person.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

 receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

 officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

 participation with Defendant or with anyone described in (a).

                                                 II.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

 is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

 means or instruments of transportation or communication in interstate commerce or by use of the

 mails, directly or indirectly:

         (a)     to employ any device, scheme, or artifice to defraud;

        (b)      to obtain money or property by means of any untrue statement of a material fact

                 or any omission of a material fact necessary in order to make the statements

                 made, in light of the circumstances under which they were made, not misleading;

                 or

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        (c)     to engage in any transaction, practice, or course of business which operates or

                would     operate         as   a   fraud   or   deceit    upon      the    purchaser.

 IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal Rule

 of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual

 notice of this Final Judgment by personal service or otherwise: (a) Defendant’s officers, agents,

 servants, employees, and attorneys; and (b) other persons in active concert or participation with

 Defendant or with anyone described in (a).

                                                   III.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

 is permanently restrained and enjoined from violating Sections 5(a) and 5(c) of the Securities Act

 [15 U.S.C. §§ 77e(a) and 77e(c)] by, directly or indirectly, in the absence of any applicable

 exemption:

        (a)     Unless a registration statement is in effect as to a security, making use of any

                means or instruments of transportation or communication in interstate commerce

                or of the mails to sell such security through the use or medium of any prospectus

                or otherwise;

        (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                be carried through the mails or in interstate commerce, by any means or

                instruments of transportation, any such security for the purpose of sale or for

                delivery after sale; or

        (c)     Making use of any means or instruments of transportation or communication in

                interstate commerce or of the mails to offer to sell or offer to buy through the use

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                or medium of any prospectus or otherwise any security, unless a registration

                statement has been filed with the Commission as to such security, or while the

                registration statement is the subject of a refusal order or stop order or (prior to the

                effective date of the registration statement) any public proceeding or examination

                under Section 8 of the Securities Act [15 U.S.C. § 77h].

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

 receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

 officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

 participation with Defendant or with anyone described in (a).

                                                  IV.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

 is permanently restrained and enjoined from violating Section 15(a) of the Exchange Act [15

 U.S.C. § 78o(a)] by, directly or indirectly, while engaging in business as a broker or dealer, making

 use of the mails or any means or instrumentality of interstate commerce to effect any transaction

 in, or to induce or attempt to induce the purchase or sale of, any security (other than an exempted

 security or commercial paper, bankers’ acceptances, or commercial bills) unless registered with

 the Commission in accordance with Section 15(a) of the Exchange Act [15 U.S.C. § 78o(a)] of

 this section or associated with a broker or dealer that is registered with the Commission in

 accordance with Section 15(a) of the Exchange Act [15 U.S.C. § 78o(a)].

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

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 receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

 officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

 participation with Defendant or with anyone described in (a).

                                                 V.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

 is preliminarily restrained and enjoined from directly or indirectly, including, but not limited to,

 through any entity owned or controlled by Defendant, participating in the issuance, offer, or sale

 of any security; provided, however, that such injunction shall not prevent Defendant from

 purchasing or selling securities for his own personal account, with the Court to determine on the

 motion of the SEC whether this injunction should be made permanent or otherwise modified.

                IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided

 in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following

 who receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s

 officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

 participation with Defendant or with anyone described in (a).

                                                 VI.



        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

 is liable for disgorgement of $161,205.24 representing profits gained as a result of the conduct

 alleged in the Complaint, together with prejudgment interest thereon in the amount of

 $22,409.80, for a total of $183,615.04. Defendant is further liable for a civil penalty in the

 amount of $161,205.24 pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and

 Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)]. Defendant shall satisfy this obligation

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 by paying these amounts to the Securities and Exchange Commission within 30 days after entry

 of this Final Judgment.

        Defendant may transmit payment electronically to the Commission, which will provide

 detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

 from     a    bank        account   via    Pay.gov      through     the     SEC      website     at

 http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

 cashier’s check, or United States postal money order payable to the Securities and Exchange

 Commission, which shall be delivered or mailed to

        Enterprise Services Center
        Accounts Receivable Branch
        6500 South MacArthur Boulevard
        Oklahoma City, OK 73169

 and shall be accompanied by a letter identifying the case title, civil action number, and name of

 this Court; William R. Fort as defendant in this action; and specifying that payment is made

 pursuant to this Final Judgment.

        Defendant shall simultaneously transmit photocopies of evidence of payment and case

 identifying information to the Commission’s counsel in this action. By making this payment,

 Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

 of the funds shall be returned to Defendant.

        The Commission may enforce the Court’s judgment for disgorgement and prejudgment

 interest by moving for civil contempt (and/or through other collection procedures authorized by

 law) at any time after 30 days following entry of this Final Judgment. Defendant shall pay post

 judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961. The Commission


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 shall hold the funds, together with any interest and income earned thereon (collectively, the

 “Fund”), pending further order of the Court.

          The Commission may propose a plan to distribute the Fund subject to the Court’s

 approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

 provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002.              The Court shall retain

 jurisdiction over the administration of any distribution of the Fund. If the Commission staff

 determines that the Fund will not be distributed, the Commission shall send the funds paid

 pursuant to this Final Judgment to the United States Treasury.

          Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

 paid as civil penalties pursuant to this Final Judgment shall be treated as penalties paid to the

 government for all purposes, including all tax purposes. To preserve the deterrent effect of the

 civil penalty, Defendant shall not, after offset or reduction of any award of compensatory

 damages in any Related Investor Action based on Defendant’s payment of disgorgement in this

 action, argue that they are entitled to, nor shall they further benefit by, offset or reduction of such

 compensatory damages award by the amount of any part of Defendant’s payment of a civil

 penalty in this action (“Penalty Offset”). If the court in any Related Investor Action grants such

 a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty

 Offset, notify the Commission’s counsel in this action and pay the amount of the Penalty Offset

 to the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall

 not be deemed an additional civil penalty and shall not be deemed to change the amount of the

 civil penalty imposed in this Final Judgment.           For purposes of this paragraph, a “Related

 Investor Action” means a private damages action brought against Defendant by or on behalf of

 one or

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     more investors based on substantially the same facts as alleged in the Complaint in this action.

                                                     VII.

            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent of

     William R. Fort is incorporated herein with the same force and effect as if fully set forth herein,

     and that Defendant shall comply with all of the undertakings and agreements set forth therein.

                                                    VIII.

            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

     exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

     allegations in the complaint are true and admitted by Defendant, and further, any debt for

     disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant Fort under

     this Final Judgment or any other judgment, order, consent order, decree or settlement agreement

     entered in connection with this proceeding, is a debt for the violation by Defendant Fort of the

     federal securities laws or any regulation or order issued under such laws, as set forth in Section

     523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                     IX.

            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

     retain jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.
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                                                     X.

     There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

     Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

          SIGNED this 18th day of March, 2021.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE

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